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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

SYMBOLOGY INNOVATIONS, LLC,                    )
                                               )
                      Plaintiff,               )
                                               )    Civil Action No. 1:20-cv-00555
       v.                                      )
                                               )
THREESIXTY BRANDS GROUP, LLC                   )    JURY TRIAL DEMANDED
                                               )
                      Defendant.               )
                                               )


            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE


       Now comes Plaintiff, Symbology Innovations, LLC, by and through its counsel, pursuant

to Fed. R. Civ. P. 41 (a)(1), and hereby voluntarily dismisses all of the claims asserted against

Defendant ThreeSixty Brands Group, LLC in the within action WITHOUT PREJUDICE.

ThreeSixty Brands Group, LLC has not served an answer or a motion for summary judgment.


Dated: May 11, 2020                                Respectfully submitted,


                                                    CHONG LAW FIRM PA

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